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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TGE Industrial Services, LLC

2.   All other names debtor       DBA     TG Energy Industrial Services
     used in the last 8 years     DBA     Fishbone Solutions
                                  DBA     Quality Welder Testing
     Include any assumed
     names, trade names and       DBA     Protech Welding Solutions
     doing business as names      DBA     TG Energy Industrial Services
                                  DBA     TG Energy Electrical Works

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4811 Cripple Creek
                                  Houston, TX 77017
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    TGE Industrial Services, LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2371

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    TGE Industrial Services, LLC                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   TGE Industrial Services, LLC                                                Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    TGE Industrial Services, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      06/17/2023
                                                  MM / DD / YYYY


                             X                                                                            Mack McBurney
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X     /s/ David W. Parham                                                     Date    06/17/2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 David W. Parham 15459500
                                 Printed name

                                 Akerman LLP
                                 Firm name

                                 2001 Ross Avenue
                                 Suite 3600
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-720-4345                  Email address      david.parham@akerman.com

                                 15459500 TX
                                 Bar number and State




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David W. Parham, SBN: 15459500
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laura.taveras@akerman.com

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE:                                     §
                                            §           Case No.
 TGE INDUSTRIAL SERVICES, LLC               §
           Debtor.                          §           Chapter 7
                                            §
                                            §


                 GLOBAL NOTES AND STATEMENTS OF LIMITATION,
             METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTOR’S
                SCHEDULES OF ASSETS AND LIABILITIES, STATEMENT
                  OF FINANCIAL AFFAIRS, AND CREDITOR MATRIX

       The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the Statements
of Financial Affairs (collectively, the “Statements” and, together with the Schedules, the
“Schedules and Statements”) filed by the Debtor TGE Industrial Services, LLC, the debtor in the
above-captioned chapter 7 case (the “Debtor” or the “Company”), pending before the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) were prepared,
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), by management of
the Debtor, with the assistance of the Debtor’s advisors.

       Although the Debtor has made reasonable efforts to ensure that the Schedules and
Statements are as accurate and complete as possible under the circumstances, based on information
available at the time of preparation, subsequent information or discovery may result in material
changes to these Schedules and Statements, and inadvertent errors, incomplete disclosures,
inaccuracies, or omissions may have occurred. The Debtor will update, and correct or complete
the Schedules and Statements as it becomes aware of new information.

       The Schedules and Statements are unaudited and subject to potential adjustment. Because
the Schedules and Statements contain unaudited information and remain subject to further review,

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verification, and potential adjustment, there can be no assurance that these Schedules and
Statements are complete. Nothing contained in the Schedules and Statements or the Global Notes
shall constitute a waiver of any right of the Debtor or an admission with respect to their chapter 7
case (including, but not limited to, issues involving claims, substantive consolidation, defenses,
equitable subordination, and/or causes of action arising under the provisions of chapter 5 of the
Bankruptcy Code and any other relevant non bankruptcy laws to recover assets or avoid transfers),
and the Debtor reserves all rights to amend or supplement the Schedules and Statements from time
to time, in all respects, as may be necessary or appropriate, including, but not limited to, the right
to dispute or otherwise assert offsets or defenses to any claim reflected in the Schedules and
Statements as to amount, liability, or classification, or to otherwise subsequently designate any
claim as “disputed.”

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statement of Financial Affairs and Creditor Matrix (the
“Global Notes”) are incorporated by reference in, and comprise an integral part of, the Debtor’s
Schedules and Statements and creditor matrix, and should be referred to and considered in
connection with any review of the Schedules and Statements and creditor matrix. In the event that
the Schedules and Statements differ from the Global Notes, the Global Notes shall control.

        The Schedules and Statements for the Debtor are signed by Mack McBurney, CEO of the
Debtor. In reviewing and signing the Schedules and Statements, Mack McBurney relied upon his
knowledge of the business, accounting and financial data provided by Debtor’s accounting
consultants, the efforts, statements, advice, and representations of personnel of the Debtor and the
Debtor’s legal advisors. Mack McBurney has not and could not personally verify the accuracy of
each statement and/or representation contained in the Schedules and Statements, including, but not
limited to, statements and representations concerning amounts owed to creditors, classification of
such amounts, and creditors’ addresses. Although every reasonable attempt has been made to
assign corresponding transactions of the Debtor utilizing the available accounting and finance
management systems and data, certain assets, liabilities, or cash payments may have been reported
on one legal entity in these Schedules and Statements, while the beneficiary of the transaction may
have been another Debtor or legal entity.

        1.      Sources of Information Requested and Provided. In preparing these schedules,
the Debtor relied on financial data derived from their books and records that was available at the
time of such preparation. The Debtor, and its agents and attorneys do not guarantee or warrant the
accuracy or completeness of the data that is provided herein, and shall not be liable for any loss or
injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. For the avoidance of doubt, the Debtor and its professionals expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or re-
categorized, except as required by applicable law. In no event shall the Debtor, or their agents or
attorneys be liable to any third party for any direct, indirect, incidental, consequential, or special

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damages (including, but not limited to, damages arising from the disallowance of a potential claim
against the Debtors or damages to business reputation, lost business, or lost profits), whether
foreseeable or not and however caused, even if the Debtor or their agents or attorneys are advised
of the possibility of such damages.

       2.       Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
Schedule E/F as “priority” or “unsecured,” or (c) Schedule G as “executory” or “unexpired,” does
not constitute an admission by the Debtor of the legal rights of the claimant, or a waiver of the
Debtor’s right to recharacterize or reclassify such Claims or contracts or leases, the Debtor’s setoff
or recoupment rights with respect to such Claims, or any other rights of the Debtor related to such
Claims.

        3.      Causes of Action. Despite the Debtor’s reasonable efforts to identify all known
assets, the Debtor may not have listed all of the Debtor’s causes of action or potential causes of
action against third-parties as assets in the Schedules and Statements, including, without limitation,
causes of actions arising under the provisions of chapter 5 of the Bankruptcy Code and any relevant
non-bankruptcy laws to recover assets or avoid transfers. The Debtor reserves all of his rights with
respect to any cause of action (including avoidance actions), controversy, right of setoff, cross-
Claim, counter-Claim, credits, or recoupment and any Claim on contracts or leases or for breaches
of duties imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
obligation, liability, damage, judgment, account, defense, power, privilege, license, and franchise
of any kind or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date,
in contract or in tort, in law, or in equity, or pursuant to any other theory of law (collectively,
“Causes of Action”) they may have, and neither these Global Notes nor the Schedules and
Statements shall be deemed a waiver of any Claims or Causes of Action or in any way prejudice
or impair the assertion of such Claims or Causes of Action by the Debtor and its estate.

    SPECIFIC DISCLOSURES APPLICABLE TO SCHEDULES AND STATEMENTS

         Schedules A/B. Balance sheet information provided is as of June 12, 2023.

         Schedule D. With respect to the Claims listed on Schedule D, reference to any loan
         agreements and related documents is necessary for a complete description of the collateral
         and the nature, extent, and priority of liens. Nothing in the Global Notes or the Schedules
         and Statements shall be deemed a modification or interpretation of the terms of such
         agreements. The Debtor reserves all rights to amend Schedule D.
         .
         Schedule E/F. The Debtor has used reasonable efforts to report all general unsecured
         claims against the Debtor on Schedule E/F based upon the Debtor’s existing books and
         records, however, inadvertent errors or omissions may have occurred. The claims listed on
         Schedule E/F arose or were incurred on various dates. In certain instances, the date on
         which a Claim arose may be an open issue of fact. In addition, the claims of individual
         creditors for, among other things, goods or services are listed as either the lower of the

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         amounts invoiced by such creditor or the amounts entered on the Debtor’s books and
         records and may not reflect credits, rebates, recoupment, set-off or allowances due from
         such creditors to the applicable Debtor.

         Claims owing to various taxing and regulatory authorities to which the Debtor may
         potentially be liable are included on the Debtor’s Schedule E/F. Certain of such claims,
         however, may be subject to on-going audits and/or the Debtor are otherwise unable to
         determine with certainty the amount of the remaining claims listed on Schedule E/F.
         Therefore, the Debtor has listed all such priority claims as “contingent” and “unliquidated,”
         pending final resolution of on-going audits or other outstanding issues.

         Notwithstanding the foregoing, where creditors have yet to provide proper invoices for
         prepetition goods or services, such amounts may not be reflected on Schedule E/F.
         Moreover, Schedule E/F does not include certain balances including deferred liabilities,
         accruals, or general reserves.

         Schedule G. While reasonable best efforts have been made to ensure the accuracy of
         Schedule G, inadvertent errors or omissions may have occurred. The Debtor reserves the
         right to dispute the validity, status or enforceability of any contracts, agreements or leases
         set forth in Schedule G and to amend or supplement such Schedule as necessary.
         Additionally, the placing of a contract or lease onto this Schedule shall not be deemed an
         admission that such contract is an executory contract or unexpired lease, or that it is
         necessarily a binding, valid and enforceable contract. The contracts, agreements and leases
         listed on Schedule G may have expired or may have been terminated, assigned, modified,
         amended and/or supplemented from time to time by various amendments, change orders,
         restatements, waivers, estoppel certificates, letters and other documents, instruments, and
         agreements which may not be listed therein.

         Schedule H - Codebtors. In the ordinary course of their businesses, the Debtor is
         involved in pending or threatened litigation and claims arising out of the conduct of their
         business. These matters may involve multiple plaintiffs and defendants, some or all of
         whom may assert crossclaims and counterclaims against other parties. Because such
         claims are listed elsewhere in the Statements and Schedules, they may not have been set
         forth individually on Schedule H. The Debtor may not have identified certain guarantees
         that are embedded in the Debtor’s executory contracts, unexpired leases and other such
         agreements. The Debtor reserves their right, but shall not be required, to amend the
         Schedules to the extent that guarantees are identified.

         Statement – Question 4 – Payments to or for the Benefit of Insiders. Individuals
         listed in the Statements as insiders have been included for informational purposes only.
         The Debtor does not take any position with respect to (i) such person’s influence over the
         control of the Debtor; (ii) the management responsibilities or functions of such individual;
         (iii) the decision-making or corporate authority or such individual; or (iv) whether such
         individual could successfully argue that he or she is not an “insider” under applicable law,
         including the federal securities law, or with respect to any theories of liability or any other

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         purpose. As such, the Debtor reserves all rights to dispute whether any individual or entity
         identified in response to Question 4 is in fact an “insider” as defined in section 101(31) of
         the Bankruptcy Code. For more information regarding each Debtor’s officers and directors,
         see Questions 28 and 29.

                       * * * END OF GLOBAL NOTES * * *
         * SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE *




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 Fill in this information to identify the case:

 Debtor name            TGE Industrial Services, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,293,619.46

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,293,619.46


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,477,272.60


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        2,184,591.24

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,352,054.53


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,013,918.37




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         TGE Industrial Services, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                              $2,757.74



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     First Texas Bank                                  Operating                             0256                                       $129.70




          3.2.     TAB Bank                                          Lock-Box                              2861                                             $0.00




          3.3.     Texas First Bank                                  Checking                              1767                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $2,887.44
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor           TGE Industrial Services, LLC                                             Case number (If known)
                 Name

          Description, including name of holder of deposit
                   Down payment on the Premium Finance Agreement with IPFS Corporation related to
                   Insurance Policies
          7.1.     Account No. TXH-D59093                                                                                   $45,423.17



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment
                   Starr Surplus Lines Insurance Company - CGL, Professional $1MM, Contractor's Polluti
                   Policy #: 1000067784231
          8.1.     Term: 04/06/23-04/06/24                                                                                       $0.00


                   Zurich American Insurance Company / Auto
                   Policy #: BAP011311908
          8.2.     Term: 04/06/23-04/06/24                                                                                       $0.00


                   Starr Surplus Lines Insurance Company - Umbrella Liab, Excess Liab
                   Policy #: 1000337926231
          8.3.     Term: 04/06/23-04/06/24                                                                                   Unknown


                   Zurch American Insurance Company / Workers Comp
                   Policy: WC011312008
          8.4.     Term: 04/06/23-04/06/24                                                                                       $0.00


                   Starr Indemnity and Liablity / Rented-Leased Equip
                   Policy #: ITH100065174823
          8.5.     Term: 04/06/23-04/06/24                                                                                       $0.00




9.        Total of Part 2.                                                                                               $45,423.17
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                  1,126,051.86      -                                 0.00 = ....     $1,126,051.86
                                       face amount                          doubtful or uncollectible accounts




          11b. Over 90 days old:                         2,588.98      -                           1,294.49 =....            $1,294.49
                                       face amount                          doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                             $1,127,346.35
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                            page 2
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Debtor       TGE Industrial Services, LLC                                                   Case number (If known)
             Name


      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Furniture and fixtures                                                   $16,660.00       N/A                               $10,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers                                                                  $3,486.00      N/A                                $3,486.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $13,486.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                   Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 15 of 101

Debtor      TGE Industrial Services, LLC                                              Case number (If known)
            Name



47.      Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

         47.1.   Vehicle: 6000lb Pneumatic Forklift (5
                 year)                                                       $7,036.25       N/A               $10,825.00


         47.2.   Vehicle: Wrap on Big Trailer (3 years)                      $3,066.67       N/A                $3,066.67


         47.3.   Vehicle: Big Trailer (5 years)                              $3,133.33       N/A                $3,133.33


         47.4.   Vehicle: Magnet Logo Signs (3 years)                        Unknown         N/A                 $684.14


         47.5.   Trailers: Smoker                                            $2,200.00       N/A                $2,200.00


         47.6.   2021 UT Generic Utility Trailer E&I
                 VIN: 4YMBU1014MT033869                                      Unknown         Comparable sale    $2,000.00


         47.7.   2018 UT Generic Utility Trailer - 20'Flat
                 Bed
                 VIN: 4R78BU2026JT173163                                     Unknown                           Unknown


         47.8.   2013 Top Hat Trailer 40' Float
                 VIN: 4R7B0204DT1235                                         Unknown         Comparable sale   $13,000.00


         47.9.   2016 UT Nationwide Trailer - EANDI
                 VIN: 53BLTEA11HU023267                                      Unknown                           Unknown


         47.10 2009 TPHT Trailer
         .     VIN: 4R7BU16279T096                                           Unknown         Comparable sale       $0.00


         47.11 2012 200 TAND Trailer
         .     VIN: 4YMCL1224CT006862                                        Unknown                           Unknown


         47.12 2005 VN Generic Dry Frt Van Tool Trailer
         .     E&I
                 VIN: 47ZUB16Z15X035544                                      Unknown         Comparable sale    $2,500.00


         47.13 2014 FB Generic Flatbed Trailer Good
         .     Neck
                 VIN: 4P5FS2924E1209334                                      Unknown                           Unknown


         47.14 2010 VN E-350 Wagon Wagon 35 12P XL
         .     Van
                 VIN: 1FBNE3BL4ADA02977                                      Unknown         Comparable sale   $10,500.00


         47.15 2015 VN Generic Dry Ft Van - Tool
         .     Trailer Black FS
                 VIN: 5NHUVHV26FY022071                                      Unknown         Comparable sale    $2,500.00



Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                   page 4
                   Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 16 of 101

Debtor      TGE Industrial Services, LLC                                              Case number (If known)
            Name

         47.16 2017 VN GEneric Dry Frt Tool Trailer
         .     White FS
                  VIN: 571BE1629HM022870                                       Unknown        Comparable sale      $5,500.00


         47.17 1997 Turnaround Trailer 18-Wheeler
         .     VIN: 1DW1A4822VS132410                                          Unknown                             Unknown


         47.18
         .     1989 RN Conex '16                                               Unknown                             Unknown


         47.19 2016 VN GEneric Dry Frt Van - Tool
         .     Trailer FS
                  VIN: 575200J21GT300373                                       Unknown                             Unknown



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         Contractors Equipment: 4 Pack Welding
         Machine                                                               Unknown        N/A                  Unknown


         Equipment: Pipe Rack Jack                                            $26,645.90      N/A                 $26,645.90


         Equipment: Vaccum Box Weld Testing Tank                                 $807.49      N/A                    $807.49


         Equipment: Fuel Cell & Pump                                           $1,113.35      N/A                  $1,113.35


         Equipment: Generators                                                 $2,110.81      N/A                  $2,110.81


         Equipment: Dust Extractor                                               $479.99      N/A                    $479.99


         Equipment: Classic Bender Assy                                        $3,053.15      N/A                  $3,053.15


         Equipment: Rigid Threader with Stand                                  $7,356.67      N/A                  $7,356.67



51.      Total of Part 8.                                                                                       $97,476.50
         Add lines 47 through 50. Copy the total to line 87.

52.      Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes

53.      Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes

Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                     page 5
                      Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 17 of 101

Debtor        TGE Industrial Services, LLC                                                 Case number (If known)
              Name

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           TGEIS.com                                                               Unknown                                            Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 6
                   Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 18 of 101

Debtor      TGE Industrial Services, LLC                                            Case number (If known)
            Name

73.      Interests in insurance policies or annuities
         Champlain Specialty Insurance Company (Woodlands
         Insurance Services Inc) / Excess
         Policy # CSEN-CEL-0000299-02                                                                         Unknown


         Travelers Lloyd's Insurance Company - PKG - Policy #
         QT 660 8J924573 TLC                                                                                  Unknown


         Crum & Forster Specialty Insurance (Woodlands
         Insurance Services Inc) / Excess
         Policy #: EFX-122778                                                                                 Unknown


         Crum & Forster Indemnity Co (Woodlands Insurance
         Services Inc) / GLPL
         Policy #: EPK-143681                                                                                 Unknown


         Imperium Insurance Co (RISCOM) - AutoLib - Policy #:
         ILR 18 01868 00                                                                                      Unknown


         Federal Insurance Co (CRC Insurance Services Inc) -
         D&O - Policy #: 8762-3354                                                                            Unknown


         Mutual of Omaha - Life / AD&D Coverage - Policy No.
         G000B2MT                                                                                             Unknown



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         Astro season tickets                                                                                 $7,000.00




78.      Total of Part 11.                                                                                   $7,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property               page 7
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Debtor          TGE Industrial Services, LLC                                                                        Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $2,887.44

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $45,423.17

82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,127,346.35

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $13,486.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $97,476.50

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                    $7,000.00

91. Total. Add lines 80 through 90 for each column                                                         $1,293,619.46            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,293,619.46




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 8
                        Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 20 of 101

Fill in this information to identify the case:

Debtor name         TGE Industrial Services, LLC

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   C6 Capital Funding LLC                       Describe debtor's property that is subject to a lien                 $470,000.00                       $0.00
      Creditor's Name                              Texas First Bank - Checking - Acct# 1767
      Attn: David Cooper,
      Managing Partner
      315 East 62nd St, 3rd Floor
      New York, NY 10065
      Creditor's mailing address                   Describe the lien
                                                   Loan and Security Agreement
                                                   Is the creditor an insider or related party?
      dcooper@c6capllc.com                            No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      04/28/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      nFusion Capital Finance
2.2                                                                                                                     $607,272.60             $1,126,051.86
      LLC                                          Describe debtor's property that is subject to a lien
      Creditor's Name                              All Collateral and TAB Bank - Lock-Box -
      Attn: Jason Lippman, CEO                     Acct# 2861
      6444 Burnet Road, Suite
      100
      Austin, TX 78757
      Creditor's mailing address                   Describe the lien
                                                   Revolving Letter of Credit and Security
                                                   Agreement
                                                   Is the creditor an insider or related party?
      jason@nfusioncapital.com                        No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      10/27/2022; 10/27/2022                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
                         Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 21 of 101

Debtor       TGE Industrial Services, LLC                                                          Case number (if known)
             Name

       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Small Business
2.3                                                                                                                         $400,000.00                   $0.00
       Administration                              Describe debtor's property that is subject to a lien
       Creditor's Name                             All Collateral
       4300 Amon Carter Blvd.
       Fort Worth, TX 76155
       Creditor's mailing address                  Describe the lien
                                                   Economic Injury Disaster Loan
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       06/24/2020; 08/17/2021                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8008
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $1,477,272.6
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        nFusion Capital Finance LLC
        Attn: Anthony Fortunato, Director U/W                                                                Line   2.2
        6444 Burnet St. #100
        Austin, TX 78757




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
                       Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 22 of 101

Fill in this information to identify the case:

Debtor name        TGE Industrial Services, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $2,055.90         $0.00
          Ann Harris Bennett Tax                              Check all that apply.
          AssessorCollector                                      Contingent
          PO Box 4622                                            Unliquidated
          Houston, TX 77210-4622                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $687.46         $0.00
          Louisiana Dept of Revenue                           Check all that apply.
          PO Box 4969                                            Contingent
          Baton Rouge, LA 70821-4969                             Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 18
                                                                                                              46527
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Debtor       TGE Industrial Services, LLC                                                               Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Tennessee State Revenue /TN TAP                      Check all that apply.
          500 Deaderick Street                                    Contingent
          Nashville, TN 37242                                     Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $2,170,771.72     $0.00
          Texas Comptroller                                    Check all that apply.
          6320 Southwest Blvd, Ste 201                            Contingent
          Fort Worth, TX 76109                                    Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Franchise Tax

          Last 4 digits of account number 2897                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $11,076.16    $0.00
          Texas State Comptroller                              Check all that apply.
          P O Box 149348                                          Contingent
          Austin, TX 78714-9348                                   Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,184.00
          4A Inspection                                                          Contingent
          2509 Galveston Road                                                    Unliquidated
          Houston, TX 77017                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Aaron Handler                                                          Contingent
          4308 Shenandoa St                                                      Unliquidated
          Dallas, TX 75205                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 18
                        Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 24 of 101

Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Adjacent Capital Advisors LLC                                Contingent
         4330 Williamsburg Rd                                         Unliquidated
         Dallas, TX 75220                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $85.91
         Airgas USA, LLC                                              Contingent
         PO Box 734671                                                Unliquidated
         Dallas, TX 75373-4671                                        Disputed
         Date(s) debt was incurred 3/31/23
                                                                   Basis for the claim:    Service
         Last 4 digits of account number 7931
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $70.00
         Andrew Dry                                                   Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Ann King                                                     Contingent
         6544 Westlake Ave                                            Unliquidated
         Dallas, TX 75214                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,250.00
         Apache Industrial Services, Inc.                             Contingent
         250 Assay St, Suite 500                                      Unliquidated
         Houston, TX 77044                                            Disputed
         Date(s) debt was incurred 2/9/2022
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $9,000.00
         Architectural Testing, Inc.                                  Contingent
         6700 Portwest Drive
                                                                      Unliquidated
         Houston, TX 77024
                                                                      Disputed
         Date(s) debt was incurred 4/25/23
         Last 4 digits of account number                           Basis for the claim:    Trade debt
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $222,438.00
         Axis Industrial Holdings, Inc.                               Contingent
         Attn: Brad Newton                                            Unliquidated
         302 W Pasadena Blvd
         Deer Park, TX 77536                                          Disputed

         Date(s) debt was incurred                                 Basis for the claim:    Service
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Brandon Busch                                                Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $25.50
         Byron Mcbride                                                Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Celestino Garza                                              Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,584.66
         Chaparral Industrial Services                                Contingent
         PO Box 20365                                                 Unliquidated
         Waco, TX 76702                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Christopher A Casey                                          Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Christopher K King                                           Contingent
         6544 Westlake Ave                                            Unliquidated
         Dallas, TX 75214                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,864.20
         Coastal Resources Group, LLC                                 Contingent
         PO Box 1143                                                  Unliquidated
         Seguin, TX 78155                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $475.44
         Comcast Business                                             Contingent
         P O Box 60533                                                Unliquidated
         City of Industry, CA 91716-0533                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number   1395
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,912.68
         Consolidated Electrical Distributors Inc                     Contingent
         PO Box 207088                                                Unliquidated
         Dallas, TX 75320-7088                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number   1800
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,044.00
         CORE Occupational Medical                                    Contingent
         126 W. San Augustine Dr                                      Unliquidated
         Deer Park, TX 77536                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         CornerPost Acquisition, LLC                                  Contingent
         Attn: Michael G. Donohoe                                     Unliquidated
         4330 Williamsburg Road                                       Disputed
         Dallas, TX 75220
                                                                   Basis for the claim:    Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         CornerPost Capital Partners LLC                              Contingent
         580 Decker Dr., Ste 260                                      Unliquidated
         Irving, TX 75062                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Craig Kenney Exempt Trust                                    Contingent
         8525 Ferndale Rd., Ste 204                                   Unliquidated
         Dallas, TX 75238                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Cynthia & Robert Davis                                       Contingent
         2459 S Ponte Vedra Blvd                                      Unliquidated
         Ponte Vedra Beach, FL 32082                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         David D Mathews                                              Contingent
         2401 Cedar Bayou Rd                                          Unliquidated
         Baytown, TX 77520                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         David Graham                                                 Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         David M Maggio                                               Contingent
         2204 Peninsula Dr                                            Unliquidated
         Flower Mound, TX 75022                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,386.18
         DISA Global Solutions Inc                                    Contingent
         Dept 3731                                                    Unliquidated
         PO Box 123731                                                Disputed
         Dallas, TX 75312-3731
                                                                   Basis for the claim:    Service
         Date(s) debt was incurred
         Last 4 digits of account number   3440                    Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Donohoe Family Partnership                                   Contingent
         6865 Lakeshore Dr                                            Unliquidated
         Dallas, TX 75214                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Elm Creek Partners I LP                                      Contingent
         5949 Sherry Lane, Ste 1070                                   Unliquidated
         Dallas, TX 75225                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Elm Creek TGE Investment LP                                  Contingent
         5949 Sherry Ln, Ste 1070                                     Unliquidated
         Dallas, TX 75225                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,999.71
         Enterprise FM Trust                                          Contingent
         Enterprise FM Customer Billing                               Unliquidated
         PO BOX 800089                                                Disputed
         Kansas City, MO 64180-0089
                                                                   Basis for the claim:    Equipment Lease
         Date(s) debt was incurred
         Last 4 digits of account number   6300                    Is the claim subject to offset?     No       Yes


3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $51,398.51
         Evergreen Industrial Services                                Contingent
         P O Box 2078                                                 Unliquidated
         Deer Park, TX 77536                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $224.84
         FedEx Freight                                                Contingent
         Dept CH                                                      Unliquidated
         PO Box 10306                                                 Disputed
         Palatine, IL 60055-0306
                                                                   Basis for the claim:    Service
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,400.00
         First In Rescue Safety and Training                          Contingent
         6777 Fairmont Parkway                                        Unliquidated
         Pasadena, TX 77505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $274.96
         Functional Office Systems                                    Contingent
         8524 Highway 6 North #210                                    Unliquidated
         Houston, TX 77095                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,372.23
         Gateway Printing & Office Supply                             Contingent
         315 S. Closner                                               Unliquidated
         Edinburg, TX 78539                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $560.00
         Gordon Arata Montgomery Barnett                              Contingent
         201 St. Charles Ave, 40th Floor                              Unliquidated
         New Orleans, LA 70170-4000                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,612.50
         Hammack & Co., CPAs LLC                                      Contingent
         10510 Spencer Hwy                                            Unliquidated
         La Porte, TX 77571                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,356.58
         HDS White Cap Const. Supply                                  Contingent
         P O Box 4852                                                 Unliquidated
         Orlando, FL 32802-4852                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $50.00
         Health and Safety Council                                    Contingent
         5213 Center Street                                           Unliquidated
         Pasadena, TX 77505                                           Disputed
         Date(s) debt was incurred 6/14/23
                                                                   Basis for the claim:    Service
         Last 4 digits of account number 2510
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         HJC Development Ltd I                                        Contingent
         8525 Ferndale Rd., Ste 204                                   Unliquidated
         Dallas, TX 75238                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $85,807.82
         HMTBP Holdings, Inc                                          Contingent
         P O Box 841686                                               Unliquidated
         Dallas, TX 75284-1686                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $205.00
         Houston Area Safety Council                                  Contingent
         PO Box 621001                                                Unliquidated
         Dallas, TX 75262-1001                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number   2510
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,953.68
         Hulltech Solutions LLC                                       Contingent
         2810 Rosebud Dr                                              Unliquidated
         Pearland, TX 77584-9100                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7.50
         Industrial Safety Training Council                           Contingent
         3749 Hwy 69 North                                            Unliquidated
         Beaumont, TX 77705                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number   6819
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,241.69
         Intercoastal Sales Co                                        Contingent
         P O Box 1547                                                 Unliquidated
         La Porte, TX 77572                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $138,348.43
         IPFS Corporation                                             Contingent
         2777 Allen Parkway Suite 550                                 Unliquidated
         Houston, TX 77019                                            Disputed
         Date(s) debt was incurred 4/30/23
                                                                   Basis for the claim:    Insurance
         Last 4 digits of account number 8204
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $16,375.38
         Jackson Walker, LLP                                          Contingent
         P O Box 130989                                               Unliquidated
         Dallas, TX 75313-0989                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Jacob Rivers                                                 Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         James & Helen McCleneghen                                    Contingent
         2701 Regatta Dr.                                             Unliquidated
         Plano, TX 75093                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         James A Donohoe TTEE                                         Contingent
         6865 Lakeshore Dr                                            Unliquidated
         Dallas, TX 75214                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         James A Donohoe TTEE / Allison Elaine                        Contingent
         6865 Lakeshore Dr                                            Unliquidated
         Dallas, TX 75214                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         James A Donohoe TTEE / Katherine Ann                         Contingent
         6865 Lakeshore Dr                                            Unliquidated
         Dallas, TX 75214                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         James A Donohoe TTEE / Nicholas James                        Contingent
         6865 Lakeshore Dr                                            Unliquidated
         Dallas, TX 75214                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Jane Bosart Foundation                                       Contingent
         8525 Ferndale Rd, Ste 204                                    Unliquidated
         Dallas, TX 75238                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Javier Gonzalez                                              Contingent
         312 E Cedar Bayou Lynchburg Rd                               Unliquidated
         Baytown, TX 77521                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $790.77
         Jeff Havens                                                  Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Jeffrey & Stacey Henningsen                                  Contingent
         1800 Augusta, Ste 105                                        Unliquidated
         Houston, TX 77057                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Jerome Trust                                                 Contingent
         Jerome Francis Donoe TTEE                                    Unliquidated
         2865 Sheridan Place                                          Disputed
         Evanston, IL 60201
                                                                   Basis for the claim:    Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         JM TestSystems LLC                                           Contingent
         7323 Tom Dr                                                  Unliquidated
         Baton Rouge, LA 70806                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         John McBurney                                                Contingent
         4 Chelsea Blvd #1211                                         Unliquidated
         Houston, TX 77006                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         John O Sloan                                                 Contingent
         2810 Rosebud Dr                                              Unliquidated
         Pearland, TX 77584                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $50,000.00
         Jon Linker                                                   Contingent
         6223 Woods Bridge Way                                        Unliquidated
         Houston, TX 77002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Bridge Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Justin Morgan                                                Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $218.11
         Karen McAllister                                             Contingent
         17310 Cricket Mill Dr                                        Unliquidated
         Humble, TX 77346                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,849.00
         KRONOS                                                       Contingent
         P O Box 744724                                               Unliquidated
         Atlanta, GA 30374-4724                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number   2218
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Lester Wollam                                                Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,626.75
         Louisiana Occupational Medicine                              Contingent
         Prime Lake Charles                                           Unliquidated
         15481 Airline Hwy                                            Disputed
         Baton Rouge, LA 70817
                                                                   Basis for the claim:    Service
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $125.00
         Lucky Ace Web Design LLC                                     Contingent
         316 Cavil Barrier Ln                                         Unliquidated
         La Porte, TX 77571                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $69,783.75
         Marverick International LTD                                  Contingent
         1650 Brockman St. #1906                                      Unliquidated
         Beaumont, TX 77705                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,771.00
         Marx Steel LLC                                               Contingent
         11983A FM 529                                                Unliquidated
         Houston, TX 77041                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Mayer Electric Supply Co Inc                                 Contingent
         3405 4th Avenue South                                        Unliquidated
         Birmingham, AL 35222                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Michael & Linda Donohoe                                      Contingent
         4330 Williamsburg Rd                                         Unliquidated
         Dallas, TX 75220                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Michael Bosco                                                Contingent
         9206 Club Glen Dr                                            Unliquidated
         Dallas, TX 75243                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $637.40
         MISTRAS Group, Inc                                           Contingent
         195 Clarksville Road                                         Unliquidated
         Princeton Junction, NJ 08550                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $22,575.00
         Moss Adams LLP                                               Contingent
         P.O. Box 101822                                              Unliquidated
         Pasadena, CA 91189-1822                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,120.97
         Mutual of Omaha                                              Contingent
         P.O. Box 2147                                                Unliquidated
         Omaha, NE 68103-2147                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insurance
         Last 4 digits of account number   B2M7
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Nathan T Kinney                                              Contingent
         1551 N Michigan Ave, Apt 1603                                Unliquidated
         Chicago, IL 60601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $719.86
         Network Cabling Services Inc                                 Contingent
         12626 Fuqua St                                               Unliquidated
         Houston, TX 77034                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $24,701.93
         Omnipotech LTD                                               Contingent
         11422 A Cragalhead Dr                                        Unliquidated
         Houston, TX 77025                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Paul S Tomaso                                                Contingent
         4422 Northcrest Rd                                           Unliquidated
         Dallas, TX 75229                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,000.00
         Petrofac Inc                                                 Contingent
         16340 Park Ten Pl                                            Unliquidated
         Houston, TX 77084                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $90.92
         Phillip Terry                                                Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $216.50
         Pro-Surve Technical Services LLC                             Contingent
         1265 Bulter Road                                             Unliquidated
         League City, TX 77573                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,890.00
         Randy S. Roden                                               Contingent
         PO Box 538                                                   Unliquidated
         Liverpool, TX 77577                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,799.19
         Rexel                                                        Contingent
         P O Box 840638                                               Unliquidated
         Dallas, TX 75284-0638                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Rilene Burgess                                               Contingent
         1415 Poplar Cove                                             Unliquidated
         La Porte, TX 77571                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Robert S Davis                                               Contingent
         3102 Hanna Ln                                                Unliquidated
         Bentonville, AR 72712                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,225.51
         RUS Industrial LLC                                           Contingent
         16030 Bear Bayou Dr                                          Unliquidated
         Channelview, TX 77530                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number   D001
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $413.52
         SignQuick                                                    Contingent
         1426 Atlantis Drive                                          Unliquidated
         Webster, TX 77598                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $21,981.21
         Sloan and Roberts PLLC                                       Contingent
         5151 Belt Line Road Suite 1050                               Unliquidated
         Dallas, TX 75254                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Professional services
         Last 4 digits of account number   603M
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,794.96
         Sloan Rangers LLC                                            Contingent
         2810 Rosebud Drive                                           Unliquidated
         Pearland, TX 77584                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $823.26
         Summit Fire & Security                                       Contingent
         PO Box 6783                                                  Unliquidated
         Carol Stream, IL 60197-6783                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,494.00
         Tap Truck Houston LLC                                        Contingent
         1225 North Loop W Ste 640                                    Unliquidated
         Houston, TX 77008                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,196.17
         Terminix Commercial                                          Contingent
         P O Box 802155                                               Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $79.50
         Terry McBurney III                                           Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:    Service
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Timothy Sharbine                                             Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $16,217.97
         Tool Mart Inc                                                Contingent
         13721 S. Gessner, Suite 200                                  Unliquidated
         Missouri City, TX 77489                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $258,372.89
         Unique Admin Services Organization LLC                       Contingent
         4646 Corona Ste 105                                          Unliquidated
         Corpus Christi, TX 78411                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Payroll Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $122,412.40
         Unique Staff Leasing III, Ltd                                Contingent
         dba UniqueHR                                                 Unliquidated
         4646 Corona, Ste 100
         Corpus Christi, TX 78411                                     Disputed

         Date(s) debt was incurred 12/23/2020                      Basis for the claim:    Payroll Service
         Last 4 digits of account number 0013                      Is the claim subject to offset?     No       Yes




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Debtor      TGE Industrial Services, LLC                                                    Case number (if known)
            Name

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,735.90
         United Rentals                                               Contingent
         PO Box 840514                                                Unliquidated
         Dallas, TX 75284-0514                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $56,662.12
         Uribe Steel                                                  Contingent
         7213 Miller Rd 2                                             Unliquidated
         Houston, TX 77049                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $135.43
         Waste Management                                             Contingent
         P.O. Box 660345                                              Unliquidated
         Dallas, TX 75266                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number   3003
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $245.00
         Welder Testing Inc                                           Contingent
         502 West 13th Street                                         Unliquidated
         Deer Park, TX 77536                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,769.83
         WEX Bank                                                     Contingent
         PO Box 6293                                                  Unliquidated
         Carol Stream, IL 60197-6293                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number   9412
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         William H Douning                                            Contingent
         12026 Lueders Ln                                             Unliquidated
         Dallas, TX 75230                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,558.31
         William Scotsman Inc                                         Contingent
         PO Box 91975                                                 Unliquidated
         Chicago, IL 60693-1975                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       TGE Industrial Services, LLC                                                           Case number (if known)
             Name

3.108     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $9,241.10
          Willscot Mobile Mini                                                Contingent
          4646 E Van Buren St., Ste 400                                       Unliquidated
          Phoenix, AZ 85008
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Service
          Last 4 digits of account number   9417
                                                                           Is the claim subject to offset?        No      Yes

3.109     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          WPC Coit / SV LP                                                    Contingent
          8525 Ferndale Rd., Ste 204                                          Unliquidated
          Dallas, TX 75238                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No      Yes

3.110     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $20,269.90
          Wrinkle, Garner & Company                                           Contingent
          3231 FM 528                                                         Unliquidated
          Friendswood, TX 77546                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Service
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No      Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Rust-Ewing Watt and Haney Inc
          dba Texas First Insurance                                                                 Line     3.47
          7900 Emmett Lowry Expressway
                                                                                                           Not listed. Explain
          Texas City, TX 77591


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                  2,184,591.24
5b. Total claims from Part 2                                                                           5b.    +     $                  1,352,054.53

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      3,536,645.77




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 18
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Fill in this information to identify the case:

Debtor name       TGE Industrial Services, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Master Service
           lease is for and the nature of        Agreement #KS 16 WA
           the debtor's interest                 422

               State the term remaining
                                                                                    Alon USA
           List the contract number of any                                          PO Box 453
                 government contract                                                Krotz Springs, LA 70750-0453


2.2.       State what the contract or            Master Service
           lease is for and the nature of        Agreement
           the debtor's interest                 #20180227085836

               State the term remaining
                                                                                    Arkema Inc
           List the contract number of any                                          900 First Ave
                 government contract                                                King of Prussia, PA 19406


2.3.       State what the contract or            Master Service
           lease is for and the nature of        Agreement #338278
           the debtor's interest

               State the term remaining
                                                                                    Ascend Performance Materials LLC
           List the contract number of any                                          1010 Travis St, Ste 900
                 government contract                                                Houston, TX 77002


2.4.       State what the contract or            Service and Supply of
           lease is for and the nature of        Goods MSA Agreement
           the debtor's interest

               State the term remaining                                             Axis Industrial Services LLC
                                                                                    Attn: JT Maddox IV, President
           List the contract number of any                                          5110 IH 37
                 government contract                                                Corpus Christi, TX 78407




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Master Service
          lease is for and the nature of    Agreement #230875
          the debtor's interest

             State the term remaining                                   Baker Hughes Oilfield Operations Inc
                                                                        Attn: Steven Adams
          List the contract number of any                               13200 Baypark Rd
                government contract                                     Pasadena, TX 77507


2.6.      State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #21-648-31-SO1
                                            Project: PSM Odessa
                                            Ector Inlet
             State the term remaining
                                                                        BL Harbert
          List the contract number of any                               PO Box 531390
                government contract                                     Birmingham, AL 35253


2.7.      State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #4600011620

             State the term remaining
                                                                        Braskem America Inc
          List the contract number of any                               1735 Market St
                government contract                                     Philadelphia, PA 19103


2.8.      State what the contract or        Master Service
          lease is for and the nature of    Agreement #6132018
          the debtor's interest

             State the term remaining
                                                                        BTU Management Services LLC
          List the contract number of any                               PO Box 218
                government contract                                     Logan, NM 88426-0218


2.9.      State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   Buckeye Partners LP
                                                                        Five Ten Park
          List the contract number of any                               999 Hamilton Blvd
                government contract                                     Breinigsville, PA 18031




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 2 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #CW2019806

             State the term remaining
                                                                        Calpine Operating Services Company Inc
          List the contract number of any                               717 Texas Avenue, Ste 1000
                government contract                                     Houston, TX 77002


2.11.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #377770-MSA-MS-024

             State the term remaining
                                                                        CB&I, Inc.
          List the contract number of any                               2103 Research Forest Dr
                government contract                                     Spring, TX 77380


2.12.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #10384
          the debtor's interest

             State the term remaining
                                                                        Celanese International Corp
          List the contract number of any                               222 West Las Colinas Blvd, Ste 900N
                government contract                                     Irving, TX 75039


2.13.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #4600104125

             State the term remaining
                                                                        Chalmetta Refining LLC
          List the contract number of any                               50 West Saint Bernard Hwy
                government contract                                     Chalmette, LA 70043


2.14.     State what the contract or        Master Supply and
          lease is for and the nature of    Services Agreement
          the debtor's interest             #TGE-061112

             State the term remaining                                   Champion Technologies Inc
                                                                        Attn: Contracts Manager
          List the contract number of any                               3200 Southwest Fwy
                government contract                                     Houston, TX 77227




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 3 of 12
                       Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 43 of 101
Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #26570-MSA-L48

             State the term remaining                                   ConocoPhillips
                                                                        600 North Dairy Ashford
          List the contract number of any                               WL2 #10070E
                government contract                                     Houston, TX 77079


2.16.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #CP-1973
          the debtor's interest

             State the term remaining
                                                                        Contanda / BWC Terminals
          List the contract number of any                               1111 Bagby St, Ste 1600
                government contract                                     Houston, TX 77002


2.17.     State what the contract or        Mastser Construction
          lease is for and the nature of    Agreement #LCM No.
          the debtor's interest             79042

             State the term remaining                                   Convestro LLC
                                                                        Attn: Zakaria Kamoune
          List the contract number of any                               8500 West Bay Rd
                government contract                                     Baytown, TX 77523-8727


2.18.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #1575
          the debtor's interest

             State the term remaining
                                                                        DCP Midstream
          List the contract number of any                               6900 East Layton Ave, Ste 900
                government contract                                     Denver, CO 80237


2.19.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #450001288
          the debtor's interest

             State the term remaining
                                                                        Denbury OnShore LLC
          List the contract number of any                               5320 Legacy Dr
                government contract                                     Plano, TX 75024




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 4 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #19718
          the debtor's interest

             State the term remaining
                                                                        Devon Energy Production Co LP
          List the contract number of any                               333 W Sheridan Ave
                government contract                                     Oklahoma City, OK 73102-5015


2.21.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        EnGlobal Engineering Services
          List the contract number of any                               654 N Sam Houston Pkwy E, Ste 400
                government contract                                     Houston, TX 77060


2.22.     State what the contract or        Master Lease
          lease is for and the nature of    Agreement #7635
          the debtor's interest             Customer No. xx6300

             State the term remaining                                   Enterprise FM Trust
                                                                        Enterprise FM Customer Billing
          List the contract number of any                               PO Box 800089
                government contract                                     Kansas City, MO 64180-0089


2.23.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #PS1501-H-PS0041

             State the term remaining
                                                                        EthosEnergy Power Solutions LLC
          List the contract number of any                               2800 N Loop W
                government contract                                     Houston, TX 77092


2.24.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #A2643293
          the debtor's interest

             State the term remaining
                                                                        ExxonMobil Global Services Co
          List the contract number of any                               1735 Hughes Landing Blvd
                government contract                                     Spring, TX 77380




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 5 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.25.     State what the contract or        Insurance: D&O Crime
          lease is for and the nature of    Policy #: 8262-3354
          the debtor's interest             04/30/23-04/30/24

             State the term remaining                                   Federal Insurance Company
                                                                        Capital Center, 251 North Illinois
          List the contract number of any                               Suite 1100
                government contract                                     Indianapolis, IN 46204-1927


2.26.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #09600-CS
          the debtor's interest

             State the term remaining
                                                                        FlintHills,Investa, Koch
          List the contract number of any                               4123 East 37th Street North
                government contract                                     Wichita, KS 67220


2.27.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #US7519689
          the debtor's interest

             State the term remaining
                                                                        Hartree Partners LP
          List the contract number of any                               1185 Avenue of the Americas
                government contract                                     New York, NY 10036


2.28.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #PSA-4006
          the debtor's interest

             State the term remaining
                                                                        Huntsman International LLC
          List the contract number of any                               10003 Woodlock Forest Dr
                government contract                                     Spring, TX 77380


2.29.     State what the contract or        On-Site Service
          lease is for and the nature of    Agreement
          the debtor's interest             #OCB-2019-094

             State the term remaining                                   INEOS Oligomers Chocolate Bayou LLC
                                                                        Attn: Procurement Manager
          List the contract number of any                               2600 South Shore Blvd, Ste 400
                government contract                                     League City, TX 77573




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 6 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.30.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #SA-GA-16-0016

             State the term remaining
                                                                        INEOS Styrolution America LLC
          List the contract number of any                               12222 Port Road
                government contract                                     Pasadena, TX 77507


2.31.     State what the contract or        On-Site Service
          lease is for and the nature of    Agreement O&P
          the debtor's interest             22-00072 / #80326619
                                                                        INEOS USA LLC
             State the term remaining                                   dba INEOS Olefins & Polymers USA
                                                                        Attn: Eddie Carter, Procurement Mgr
          List the contract number of any                               2600 South Shore Blvd, Ste 500
                government contract                                     League City, TX 77573


2.32.     State what the contract or        Premium Finance
          lease is for and the nature of    Agreement
          the debtor's interest             Account No.
                                            TXH-D59093
             State the term remaining
                                                                        IPFS Corporation
          List the contract number of any                               2900 N Loop West, Ste 1150
                government contract                                     Houston, TX 77092


2.33.     State what the contract or        Contractor General
          lease is for and the nature of    Terms and Conditions
          the debtor's interest             #N-0-PU-FF-GEN0003

             State the term remaining                                   Kaneka North America LLC
                                                                        Attn: Yari Curry
          List the contract number of any                               6161 Underwood Rd
                government contract                                     Pasadena, TX 77507


2.34.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #85930
          the debtor's interest

             State the term remaining
                                                                        Kinder Morgan Contracting Services LLC
          List the contract number of any                               405 Clinton Dr, Ste D
                government contract                                     Galena Park, TX 77547




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 7 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.35.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #CW2268722

             State the term remaining
                                                                         Lyondell Chemical Company
          List the contract number of any                                1221 McKinney St, Ste 300
                government contract                                      Houston, TX 77010


2.36.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #MS-2015-00303

             State the term remaining
                                                                         Marathon Petroleum Co LP
          List the contract number of any                                539 South Main St
                government contract                                      Findlay, OH 45840


2.37.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #CW2226975

             State the term remaining
                                                                         Marathon Pipe Line LLC
          List the contract number of any                                539 South Main St
                government contract                                      Findlay, OH 45840


2.38.     State what the contract or        Insurance: Life / AD&D
          lease is for and the nature of    Policy #: G000B2M7
          the debtor's interest

             State the term remaining
                                                                         Mutual of Omaha
          List the contract number of any                                P.O. Box 2147
                government contract                                      Omaha, NE 68103-2147


2.39.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #TGE-MSA-110114R

             State the term remaining
                                                                         NALCO Company
          List the contract number of any                                3200 Southwest Fwy, Ste 2700
                government contract                                      Houston, TX 77027




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                               Page 8 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.40.     State what the contract or        Intercreditor
          lease is for and the nature of    Agreement and
          the debtor's interest             Amendment

             State the term remaining                                   nFusion Capital Finance LLC
                                                                        Attn: Anthony Fortunato
          List the contract number of any                               6444 Burnet Road, Suite 100
                government contract                                     Austin, TX 78757


2.41.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining

          List the contract number of any                               Oiltanking
                government contract


2.42.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        OXEA Corporation
          List the contract number of any                               1505 West LBJ Fwy, Ste 400
                government contract                                     Dallas, TX 75234


2.43.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #80642.0-MSA-RPC

             State the term remaining                                   Phillips 66 Universal
                                                                        WEX BANK
          List the contract number of any                               P O Box 6293
                government contract                                     Carol Stream, IL 60197


2.44.     State what the contract or        Fixed Price Separated
          lease is for and the nature of    Construction
          the debtor's interest             Agreement
                                            LCM #: 20-10222-061
             State the term remaining                                   Polynt Composites USA Inc
                                                                        Attn: Harold J Visser
          List the contract number of any                               2434 Holmes Rd
                government contract                                     Houston, TX 77051




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 9 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.45.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining

          List the contract number of any                               S&B Constructors (EPC)
                government contract


2.46.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #307005v1
          the debtor's interest

             State the term remaining
                                                                        Shintech Inc
          List the contract number of any                               Three Greenway Plaza, Ste 1150
                government contract                                     Houston, TX 77046


2.47.     State what the contract or        Office Lease - 4811
          lease is for and the nature of    Cripple Creek,
          the debtor's interest             Houston, TX 77017

             State the term remaining
                                                                        Shop Properties LLC
          List the contract number of any                               1509 Post Office St
                government contract                                     Galveston, TX 77550-4832


2.48.     State what the contract or        Standard Performance
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   Stepan Company
                                                                        Attn: Ryan Horn
          List the contract number of any                               22 W Frontage Rd
                government contract                                     Winnetka, IL 60093


2.49.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #SCM-02165

             State the term remaining
                                                                        Targa Resources LLC
          List the contract number of any                               1000 Louisiana, Ste 4300
                government contract                                     Houston, TX 77002




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 10 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.50.     State what the contract or        Master Service
          lease is for and the nature of    Agreement #660006547
          the debtor's interest

             State the term remaining
                                                                        Total Petrochemicals & Refining USA Inc
          List the contract number of any                               1201 Louisiana St, Ste 1800
                government contract                                     Houston, TX 77002


2.51.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #PS-18-2787

             State the term remaining
                                                                        TPC Group LLC
          List the contract number of any                               500 Dallas, Ste 1000
                government contract                                     Houston, TX 77002


2.52.     State what the contract or        Client Service
          lease is for and the nature of    Agreement (Texas
          the debtor's interest             Employees)

             State the term remaining                                   Unique Staff Leasing III Ltd
                                                                        dba UniqueHR
          List the contract number of any                               4646 Corona, Ste 100
                government contract                                     Corpus Christi, TX 78411


2.53.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest             #CORP08MS5950

             State the term remaining
                                                                        Valero Companies
          List the contract number of any                               PO Box 691787
                government contract                                     San Antonio, TX 78269-1787


2.54.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining

          List the contract number of any                               Vallen Electrical
                government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 11 of 12
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Debtor 1 TGE Industrial Services, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.55.     State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   Veolia North America
                                                                        Attn: General Counsel
          List the contract number of any                               53 State St, 14th Floor
                government contract                                     Boston, MA 02109




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 12 of 12
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Fill in this information to identify the case:

Debtor name      TGE Industrial Services, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Reconn                      4811 Cripple Creek Dr                                     Small Business                     D   2.3
          Industrial                  Houston, TX 77017-5935                                    Administration                     E/F
          Services LLC
                                                                                                                                   G




   2.2    Terry D                     4811 Cripple Creek                                        C6 Capital Funding                 D   2.1
          McBurney III                Houston, TX 77017                                         LLC                                E/F
                                      (Validity Agreement)
                                                                                                                                   G




   2.3    Terry D                     4811 Cripple Creek                                        nFusion Capital                    D   2.2
          McBurney III                Houston, TX 77017                                         Finance LLC                        E/F
                                      (Validity Agreement)
                                                                                                                                   G




   2.4    Terry McBurney              4811 Cripple Creek                                        Small Business                     D   2.3
                                      Houston, TX 77017                                         Administration                     E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         TGE Industrial Services, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       X       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
       X       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       X       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       X       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       X       Schedule H: Codebtors (Official Form 206H)
       X       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on        06/17/2023                     X
                                                             Signature of individual signing on behalf of debtor

                                                             Mack McBurney
                                                             Printed name

                                                             Chief Executive Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:

Debtor name         TGE Industrial Services, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,990,442.90
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $9,244,719.35
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $7,000,000.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                    Case 23-32251 Document 1 Filed in TXSB on 06/17/23 Page 55 of 101
Debtor       TGE Industrial Services, LLC                                                       Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              IPFS Corporation                                     4/28/2023                        $45,423.17           Secured debt
              2777 Allen Parkway Suite 550                                                                               Unsecured loan repayments
              Houston, TX 77019                                                                                          Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.2.
              WEX Bank                                             4/11/2023                          $6,233.65          Secured debt
              PO Box 6293                                                                                                Unsecured loan repayments
              Carol Stream, IL 60197-6293
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.3.
              Constellation New Energy Inc                         03/2023                            $3,099.20          Secured debt
              PO Box 4911                                          04/2023                                               Unsecured loan repayments
              Houston, TX 77210-4911                                                                                     Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Mark Robertson                                       06/02/22 -                       $39,932.29         Rent payment to Shop
              1509 Post Office                                     $2,823.95                                           Properties
              Galveston, TX 77550                                  07/05/22 -
              Board of Managers                                    $2,823.95
                                                                   08/02/22 -
                                                                   $2,823.95
                                                                   09/02/22 -
                                                                   $2,823.95
                                                                   10/06/22 -
                                                                   $2,823.95
                                                                   11/20/22 -
                                                                   $2,823.95
                                                                   12/02/22 -
                                                                   $2,823.95
                                                                   01/01/23 -
                                                                   $3,360.78
                                                                   02/01/23 -
                                                                   $3,360.78
                                                                   03/01/23 -
                                                                   $3,360.78
                                                                   04/01/23 -
                                                                   $3,360.78
                                                                   05/01/23 -
                                                                   $3,360.78
                                                                   06/01/23 -
                                                                   $3,360.78


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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Debtor       TGE Industrial Services, LLC                                                       Case number (if known)



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.2.    Mark Robertson                                       6/2022-06/20                     $13,000.00           Interest only payments for
              1509 Post Office                                     23                                                    previous loan
              Galveston, TX 77550
              Board of Managers

      4.3.    Terry (Mack) McBurney III                            03/17/23                         $38,000.00           Reimbursement for personal
              4611 Cripple Creek                                                                                         credit card loan
              Houston, TX 77017
              Chief Executive Officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    TGE Industrial Services LLC,             Debt Collection             130th Matagorda County                        Pending
              et al v Tenaris Bay City, Inc.                                       District Ct                                   On appeal
              23-F-0039                                                            1700 7th St, Rm 307
                                                                                                                                 Concluded
                                                                                   Bay City, TX 77414-5092


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value




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Debtor        TGE Industrial Services, LLC                                                        Case number (if known)



Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Akerman LLP
                2001 Ross Avenue
                Suite 3600
                Dallas, TX 75201                         Attorney Fees                                                 06/16/2023                $10,000.00

                Email or website address
                david.parham@akerman.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value
      13.1 nFusion Capital Finance LLC
      .    Attn: Jason Lippman, CEO
               6444 Burnet Road, Suite 100             Security Agreement for Revolving Line of
               Austin, TX 78757                        Credit                                                     10/27/2022                   $607,272.60

               Relationship to debtor




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Debtor        TGE Industrial Services, LLC                                                       Case number (if known)



 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred
      18.1.     Texas First Bank                       XXXX-5172                      Checking                 6/2023                                  $0.00
                3000FM 1764                                                           Savings
                La Marque, TX 77568
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      TGE Industrial Services, LLC                                                         Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                               Location of the property              Describe the property                                   Value
      nFusion Capital Finance LLC                            TAB Bank                              TAB Bank / Lock-box Acct #                        Unknown
      Attn: Jason Lippman, CEO                               4185 Harrison Blvd., Ste              2861
      6444 Burnet Road, Suite 100                            200                                   Security interest in
      Austin, TX 78757                                       Ogden, UT 84403                       substantially all assets
                                                                                                   including accounts
                                                                                                   receivables


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

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Debtor      TGE Industrial Services, LLC                                                        Case number (if known)




           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Katherine Phillips                                                                                                 10/17/2022 - Present
                    TG Energy Industrial Services
                    4811 Cripple Creek
                    Houston, TX 77017
      26a.2.        Cori Savein                                                                                                        01/01/2021-10/01/202
                                                                                                                                       2


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Hammack & Co, CPAs, LLC                                                                                            06/04/2021,
                    Attn: Bruce Hammack                                                                                                02/22/2022,
                    10510 Spencer Hwy                                                                                                  04/11/2023
                    La Porte, TX 77571

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Small Business Administration
                    4300 Amon Carter Blvd.
                    Fort Worth, TX 76155



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Debtor      TGE Industrial Services, LLC                                                       Case number (if known)



      Name and address
      26d.2.        nFusion Capital Finance LLC
                    Attn: Jason Lippman, CEO
                    6444 Burnet Road, Suite 100
                    Austin, TX 78757
      26d.3.        C6 Capital Funding LLC
                    8791 South Redwood Rd
                    Suite 200
                    West Jordan, UT 84088

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                    or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Elm Creek Partners I LP                5949 Sherry Ln, Ste 1070                                                                  21.285%
                                             Dallas, TX 75225

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Cornerpost Acquisition LLC             580 Decker Dr, Ste 260                              Managing Member                       22.73%
                                             Irving, TX 75062

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      David D Mathews                        2401 Cedar Bayou Rd                                 Equity Shareholder                    10.33%
                                             Baytown, TX 77520

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      John O Sloan                           2810 Rosebud Dr                                     Equity Shareholder                    06.703%
                                             Pearland, TX 77584

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Elm Creek TGE Investment,              5949 Sherry Ln, Ste 1070                            Equity Shareholder                    13.586%
      LP                                     Houston, TX 77225

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Michael Bosco                          9206 Club Glen Dr.                                  Minority Partner                      0.091%
                                             Dallas, TX 75243

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Robert S Davis                         3102 Hanna Ln                                       Minority Partner                      0.0136%
                                             Bentonville, AR 72712

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      James A Donohoe TTEE                   6865 Lakeshore Dr                                   Minority Partner                      0.023%
                                             Dallas, TX 75214


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Debtor      TGE Industrial Services, LLC                                                 Case number (if known)



      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      James A Donohoe TTEE            Allison Elaine                                       Minority Partner             0.023%
                                      6865 Lakeshore Dr
                                      Dallas, TX 75214
      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      James A Donohoe TTEE            Katherine Ann                                        Minority Partner             0.023%
                                      6865 Lakeshore Dr
                                      Dallas, TX 75214
      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      James A Donohoe TTEE            Nicolas James                                        Minority Partner             0.023%
                                      6865 Lakeshore Dr
                                      Dallas, TX 75214
      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      William H Douning               12026 Lueders Ln                                     Minority Partner             0.091%
                                      Dallas, TX 75230

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      James A Donohoe                 6865 Lakeshore Dr                                    Minority Partner             0.136%
                                      Dallas, TX 75214

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Donohoe Family                  6865 Lakeshore Dr                                    Equity Partnership           22.43%
      Partnership                     Dallas, TX 75214

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Jeffrey & Stacey                1800 Augusta Suite 105                               Minority Partner             0.045%
      Henningsen                      Houston, TX 77057

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Michael & Linda Donohoe         4330 Williamsburg Rd                                 Shareholder                  1.155%
                                      Dallas, TX 75220

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Jerome Trust                    Jerome Francies Done TTEE                            Shareholder                  1.136%
                                      2865 Sheridan Place
                                      Evanston, IL 60201
      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Craig Kenney Exempt Trust       8525 Ferndale Rd, Ste 204                            Shareholder                  0.362%
                                      Dallas, TX 75238

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      HJC Development Ltd-I           8525 Ferndale Rd, Ste 204                            Shareholder                  1.087%
                                      Dallas, TX 75238

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      WPC Coit/SV LP                  8525 Ferndale Rd, Ste 204                                                         0.272%
                                      Dallas, TX 75238




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Debtor      TGE Industrial Services, LLC                                                 Case number (if known)



      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Christopher K King              6544 Westlake Ave                                                                 0.036%
                                      Dallas, TX 75214

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Jane Bosart Foundation          8525 Ferndale Rd, Ste 204                                                         0.430%
                                      Dallas, TX 75238

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Paul S Tomaso                   4422 Northcrest Rd                                                                0.091%
                                      Dallas, TX 75229

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Nathan T Kinney                 2610 Allen St, Apt #4302                                                          0.091%
                                      Dallas, TX 75204

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      James & Helen                   2701 Regatta Dr                                                                   0.072%
      McCleneghen                     Plano, TX 75093

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Adjacent Capital Advisors       580 Decker Dr., Ste 260                                                           0.091%
      LLC                             Irving, TX 75062

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Cornerpost Capital Partners     580 Decker Dr., ste 260                                                           0.159%
      LLC                             Irving, TX 75062

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Jon Linker                      6223 Woods Bridge Way                                                             47.33%
                                      Houston, TX 77007

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      David Maggio                    2204 Peninsula Dr.                                   Board of Managers            0.235%
                                      Flower Mound, TX 75022

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Reconn Industrial Services      PO Box 580118                                        Managing Member              5.208%
      LLC                             Houston, TX 77258

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      Rilene Burgess                  1415 Poplar Cove                                     Board of Managers            0.091%
                                      La Porte, TX 77571

      Name                            Address                                              Position and nature of any   % of interest, if
                                                                                           interest                     any
      John McBurney                   4 Chelsea Blvd #1211                                 Board of Managers            18.45%
                                      Houston, TX 77006




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Debtor      TGE Industrial Services, LLC                                                       Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Mark Robertson                         1509 Post Office                                    Board of Managers                       11.16%
                                             Galveston, TX 77550

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Aaron Handler                          4308 Shenandoa St                                   Board of Managers                       0.620%
                                             Dallas, TX 75205



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Mark Robertson
      .    1509 Post Office                                                                                                         Interest payments
             Galveston, TX 77550                      $13,000.00                                                2022 - Present      for previous loan

             Relationship to debtor
             Board of Managers




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Debtor       TGE Industrial Services, LLC                                                      Case number (if known)



              Name and address of recipient          Amount of money or description and value of                Dates             Reason for
                                                     property                                                                     providing the value
      30.2                                                                                                      06/02/22 -
      .                                                                                                         $2,823.95
                                                                                                                07/05/22 -
                                                                                                                $2,823.95
                                                                                                                08/02/22 -
                                                                                                                $2,823.95
                                                                                                                09/02/22 -
                                                                                                                $2,823.95
                                                                                                                10/06/22 -
                                                                                                                $2,823.95
                                                                                                                11/20/22 -
                                                                                                                $2,823.95
                                                                                                                12/02/22 -
                                                                                                                $2,823.95
                                                                                                                01/01/23 -
                                                                                                                $3,360.78
                                                                                                                02/01/23 -
                                                                                                                $3,360.78
                                                                                                                03/01/23 -
                                                                                                                $3,360.78
                                                                                                                04/01/23 -
                                                                                                                $3,360.78
                                                                                                                05/01/23 -
              Mark Robertson                                                                                    $3,360.78
              1509 Post Office                                                                                  06/01/23 -        Rent payments to
              Galveston, TX 77550                    $39,932.29                                                 $3,360.78         Shop Properties

              Relationship to debtor
              Board of Managers


      30.3                                                                                                                        Credit card
      .    Terry McBurney III                                                                                                     reimbursement
              4811 Cripple Creek                                                                                                  for payroll loan
              Houston, TX 77017                      $38,000.00                                                 03/07/23          repayment

              Relationship to debtor
              Chief Executive Officer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true

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Debtor      TGE Industrial Services, LLC                                                        Case number (if known)



     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         06/17/2023
                                                                Mack McBurney
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                               Southern District of Texas
 In re       TGE Industrial Services, LLC                                                                     Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

           06/17/2023                                                           /s/ David W. Parham
     Date                                                                     David W. Parham 15459500
                                                                              Signature of Attorney
                                                                              Akerman LLP
                                                                              2001 Ross Avenue
                                                                              Suite 3600
                                                                              Dallas, TX 75201
                                                                              214-720-4345 Fax: 214-981-9339
                                                                              david.parham@akerman.com
                                                                              Name of law firm
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                                          United States Bankruptcy Court
                                                 Southern District of Texas
 In re   TGE Industrial Services, LLC                                                  Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for TGE Industrial Services, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




06/17/2023                                          /s/ David W. Parham
Date                                             David W. Parham 15459500
                                                 Signature of Attorney or Litigant
                                                 Counsel for TGE Industrial Services, LLC
                                                 Akerman LLP
                                                 2001 Ross Avenue
                                                 Suite 3600
                                                 Dallas, TX 75201
                                                 214-720-4345 Fax:214-981-9339
                                                 david.parham@akerman.com
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                                                United States Bankruptcy Court
                                                      Southern District of Texas
 In re   TGE Industrial Services, LLC                                                            Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:        06/17/2023
                                                         Mack McBurney/Chief Executive Officer
                                                         Signer/Title
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x




    4A Inspection
    2509 Galveston Road
    Houston, TX 77017




    Aaron Handler
    4308 Shenandoa St
    Dallas, TX 75205




    ABBA Inc
    305 Gregson Dr
    Cary, NC 27511




    Adjacent Capital Advisors LLC
    4330 Williamsburg Rd
    Dallas, TX 75220




    Adolfo Nieto




    Airgas USA, LLC
    PO Box 734671
    Dallas, TX 75373-4671




    Al Prado
    8318 Sports Haven Dr
    Humble, TX 77346




    Allegiance Crane & Equpment LLC
    18333 Egret Bay Blvd Suite 444
    Houston, TX 77044
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Alon USA
PO Box 453
Krotz Springs, LA 70750-0453




American Express
PO Box 650448
Dallas, TX 75265




Andrew Dry




Ann Harris Bennett Tax AssessorCollector
PO Box 4622
Houston, TX 77210-4622




Ann King
6544 Westlake Ave
Dallas, TX 75214




Apache Industrial Services, Inc.
250 Assay St, Suite 500
Houston, TX 77044




Architectural Testing, Inc.
6700 Portwest Drive
Houston, TX 77024




Arkema Inc
900 First Ave
King of Prussia, PA 19406
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Armanino LLP
231 Market Place STE 373
San Ramon, CA 94583




Ascend Performance Materials LLC
1010 Travis St, Ste 900
Houston, TX 77002




Avetta LLC
PO Box 8474
Pasadena, CA 91109




Axis Industrial Holdings, Inc.
Attn: Brad Newton
302 W Pasadena Blvd
Deer Park, TX 77536



Axis Industrial Services LLC
Attn: JT Maddox IV, President
5110 IH 37
Corpus Christi, TX 78407



Baker Hughes Oilfield Operations Inc
Attn: Steven Adams
13200 Baypark Rd
Pasadena, TX 77507



Baker's Safe & Lock Co Inc.
5612 Fondren Road
Houston, TX 77036




Better Builders Construction
2104 Avenue G
Freeport, TX 77542
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Bic Recruiting/IVS Investment Banking
P.O. Box 40166
Baton Rouge, LA 70835-0166




BL Harbert
PO Box 531390
Birmingham, AL 35253




Bobby Pevehouse




Brand Safway LLC
1325 Cobb International Dr, Suite A-1
Kennesaw, GA 30152




Brandon Busch




Braskem America Inc
1735 Market St
Philadelphia, PA 19103




Briggs Equipment, Inc.
Lock Box 841272
Dallas, TX 75284-1272




BTU Management Services LLC
PO Box 218
Logan, NM 88426-0218
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Buckeye Partners LP
Five Ten Park
999 Hamilton Blvd
Breinigsville, PA 18031



Byron Mcbride




C6 Capital Funding LLC
Attn: David Cooper, Managing Partner
315 East 62nd St, 3rd Floor
New York, NY 10065



Calpine Operating Services Company Inc
717 Texas Avenue, Ste 1000
Houston, TX 77002




CB&I, Inc.
2103 Research Forest Dr
Spring, TX 77380




Celanese International Corp
222 West Las Colinas Blvd, Ste 900N
Irving, TX 75039




Celestino Garza




Certi-Fab Industries
25150 Crosby Freeway
Crosby, TX 77532
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Chalmetta Refining LLC
50 West Saint Bernard Hwy
Chalmette, LA 70043




Champion Technologies Inc
Attn: Contracts Manager
3200 Southwest Fwy
Houston, TX 77227



Channel Door
PO Box 1155
La Porte, TX 77572-1152




Chaparral Industrial Services
PO Box 20365
Waco, TX 76702




Chris Martinez Jr.
2310 Saint Bernard St
Thibodaux, LA 70301




Christopher A Casey




Christopher K King
6544 Westlake Ave
Dallas, TX 75214




City of Houston
PO Box 1560
Houston, TX 77251-1560
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Coastal Resources Group, LLC
PO Box 1143
Seguin, TX 78155




Code Red Safety
Dept 413
P.O. Box 4458
Houston, TX 77210-4458



Comcast Business
P O Box 60533
City of Industry, CA 91716-0533




Concentric Constructions Corp, LLC
510 E. Main St
Humble, TX 77338




ConocoPhillips
600 North Dairy Ashford
WL2 #10070E
Houston, TX 77079



Consolidated Electrical Distributors Inc
PO Box 207088
Dallas, TX 75320-7088




Constellation New Energy Inc
PO Box 4911
Houston, TX 77210-4911




Contanda / BWC Terminals
1111 Bagby St, Ste 1600
Houston, TX 77002
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Convestro LLC
Attn: Zakaria Kamoune
8500 West Bay Rd
Baytown, TX 77523-8727



CORE Occupational Medical
126 W. San Augustine Dr
Deer Park, TX 77536




CornerPost Acquisition, LLC
Attn: Michael G. Donohoe
4330 Williamsburg Road
Dallas, TX 75220



CornerPost Capital Partners LLC
580 Decker Dr., Ste 260
Irving, TX 75062




Corrosion Products of Texas
2003A Preston A
Pasadena, TX 77503




Craig Kenney Exempt Trust
8525 Ferndale Rd., Ste 204
Dallas, TX 75238




Cynthia & Robert Davis
2459 S Ponte Vedra Blvd
Ponte Vedra Beach, FL 32082




David D Mathews
2401 Cedar Bayou Rd
Baytown, TX 77520
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David Graham




David M Maggio
2204 Peninsula Dr
Flower Mound, TX 75022




DCP Midstream
6900 East Layton Ave, Ste 900
Denver, CO 80237




Denbury OnShore LLC
5320 Legacy Dr
Plano, TX 75024




Devon Energy Production Co LP
333 W Sheridan Ave
Oklahoma City, OK 73102-5015




Diamond Green Diesel
14891 E Airline Why
Norco, LA 70079




DISA Global Solutions Inc
Dept 3731
PO Box 123731
Dallas, TX 75312-3731



Donohoe Family Partnership
6865 Lakeshore Dr
Dallas, TX 75214
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Egar Inc
602 9th St N
Texas City, TX 77590-7449




Elm Creek Partners I LP
5949 Sherry Lane, Ste 1070
Dallas, TX 75225




Elm Creek TGE Investment LP
5949 Sherry Ln, Ste 1070
Dallas, TX 75225




EnGlobal Engineering Services
654 N Sam Houston Pkwy E, Ste 400
Houston, TX 77060




Enterprise FM Trust
Enterprise FM Customer Billing
PO BOX 800089
Kansas City, MO 64180-0089



Equipment Depot
P.O. Box 209004
Dallas, TX 75320-9004




Equipment Share
PO Box 2214
Decatur, AL 35609




EthosEnergy Power Solutions LLC
2800 N Loop W
Houston, TX 77092
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Evergreen Industrial Services
P O Box 2078
Deer Park, TX 77536




ExxonMobil Global Services Co
1735 Hughes Landing Blvd
Spring, TX 77380




Federal Insurance Company
Capital Center, 251 North Illinois
Suite 1100
Indianapolis, IN 46204-1927



FedEx Freight
Dept CH
PO Box 10306
Palatine, IL 60055-0306



First In Rescue Safety and Training
6777 Fairmont Parkway
Pasadena, TX 77505




FlintHills,Investa, Koch
4123 East 37th Street North
Wichita, KS 67220




Functional Office Systems
8524 Highway 6 North #210
Houston, TX 77095




Gateway Printing & Office Supply
315 S. Closner
Edinburg, TX 78539
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Gordon Arata Montgomery Barnett
201 St. Charles Ave, 40th Floor
New Orleans, LA 70170-4000




Grainger, Inc.
DEPT. 883797607
PO Box 419267
Kansas City, MO 64141-6267



Ground Penetrating Radar Systems, LLC
PO Box 932
Toledo, OH 43623




Gulf Coast Safety Council
170 James Drive East St
Saint Rose, LA 70087




Hammack & Co., CPAs LLC
10510 Spencer Hwy
La Porte, TX 77571




Hartree Partners LP
1185 Avenue of the Americas
New York, NY 10036




HDS White Cap Const. Supply
P O Box 4852
Orlando, FL 32802-4852




Health and Safety Council
5213 Center Street
Pasadena, TX 77505
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HJC Development Ltd I
8525 Ferndale Rd., Ste 204
Dallas, TX 75238




HMTBP Holdings, Inc
P O Box 841686
Dallas, TX 75284-1686




Houston Area Safety Council
PO Box 621001
Dallas, TX 75262-1001




Houston Welders Supply LLC
11001 Wallisville Road Bldg B
Houston, TX 77013




Hulltech Solutions LLC
2810 Rosebud Dr
Pearland, TX 77584-9100




Huntsman International LLC
10003 Woodlock Forest Dr
Spring, TX 77380




Industrial Direct LLC
9700 Harbour Place Suite 128
Mukilteo, WA 98275




Industrial Safety Training Council
3749 Hwy 69 North
Beaumont, TX 77705
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INEOS Oligomers Chocolate Bayou LLC
Attn: Procurement Manager
2600 South Shore Blvd, Ste 400
League City, TX 77573



INEOS Styrolution America LLC
12222 Port Road
Pasadena, TX 77507




INEOS USA LLC
dba INEOS Olefins & Polymers USA
Attn: Eddie Carter, Procurement Mgr
2600 South Shore Blvd, Ste 500
League City, TX 77573


Intercoastal Sales Co
P O Box 1547
La Porte, TX 77572




IPFS Corporation
2777 Allen Parkway Suite 550
Houston, TX 77019




IPFS Corporation
2900 N Loop West, Ste 1150
Houston, TX 77092




ISN Software Corporation
PO Box 841808
Dallas, TX 75284-1808




Jackson Walker, LLP
P O Box 130989
Dallas, TX 75313-0989
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Jacob Rivers




James & Helen McCleneghen
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6865 Lakeshore Dr
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James A Donohoe TTEE / Allison Elaine
6865 Lakeshore Dr
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James A Donohoe TTEE / Katherine Ann
6865 Lakeshore Dr
Dallas, TX 75214




James A Donohoe TTEE / Nicholas James
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Jane Bosart Foundation
8525 Ferndale Rd, Ste 204
Dallas, TX 75238




Javier Gonzalez
312 E Cedar Bayou Lynchburg Rd
Baytown, TX 77521
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Jeff Havens




Jeffrey & Stacey Henningsen
1800 Augusta, Ste 105
Houston, TX 77057




Jerome Trust
Jerome Francis Donoe TTEE
2865 Sheridan Place
Evanston, IL 60201



JM TestSystems LLC
7323 Tom Dr
Baton Rouge, LA 70806




John McBurney
4 Chelsea Blvd #1211
Houston, TX 77006




John O Sloan
2810 Rosebud Dr
Pearland, TX 77584




Jon Linker
6223 Woods Bridge Way
Houston, TX 77002




Joshua Dade Contractors Corporation
121 E. San Augustine
Deer Park, TX 77536
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Julie Wilford




Justin Morgan




Kaneka North America LLC
Attn: Yari Curry
6161 Underwood Rd
Pasadena, TX 77507



Karen McAllister
17310 Cricket Mill Dr
Humble, TX 77346




Katherine Phillips




Kinder Morgan Contracting Services LLC
405 Clinton Dr, Ste D
Galena Park, TX 77547




KRONOS
P O Box 744724
Atlanta, GA 30374-4724




Labelleco Fab LLC
PO Box 20516
Beaumont, TX 77720
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Landshark Hydro Excavation Services, LLC
3405 Almeda Genoa Rd
Houston, TX 77047




Lester Wollam




Lonestar Energy Fabrication
2050 FM 1405
Baytown, TX 77523




Louisiana Dept of Revenue
PO Box 4969
Baton Rouge, LA 70821-4969




Louisiana Occupational Medicine
Prime Lake Charles
15481 Airline Hwy
Baton Rouge, LA 70817



Lucky Ace Web Design LLC
316 Cavil Barrier Ln
La Porte, TX 77571




Lyondell Chemical Company
1221 McKinney St, Ste 300
Houston, TX 77010




M&B Tools LLC
1024 W Pasadena Freeway
Pasadena, TX 77506
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Mackey Mechanical Services
5252 FM 517 E
Dickinson, TX 77539




Marathon Petroleum Co LP
539 South Main St
Findlay, OH 45840




Marathon Pipe Line LLC
539 South Main St
Findlay, OH 45840




Margie Yepez
12 E Nazro St
Baytown, TX 77520




Mark Robertson
1509 Post Office
Galveston, TX 77550




Marking Services Inc
8265 N Faulkner Rd
Milwaukee, WI 53224




Marverick International LTD
1650 Brockman St. #1906
Beaumont, TX 77705




Marx Steel LLC
11983A FM 529
Houston, TX 77041
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Maxim Crane Works LP
1225 Washington Pike
Bridgeville, PA 15017




Mayer Electric Supply Co Inc
3405 4th Avenue South
Birmingham, AL 35222




Michael & Linda Donohoe
4330 Williamsburg Rd
Dallas, TX 75220




Michael Bosco
9206 Club Glen Dr
Dallas, TX 75243




MISTRAS Group, Inc
195 Clarksville Road
Princeton Junction, NJ 08550




Moss Adams LLP
P.O. Box 101822
Pasadena, CA 91189-1822




Mustang Rental Services of Texas
PO Box 4346 Dept 188
Houston, TX 77210-4346




Mutual of Omaha
P.O. Box 2147
Omaha, NE 68103-2147
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NALCO Company
3200 Southwest Fwy, Ste 2700
Houston, TX 77027




Nathan T Kinney
1551 N Michigan Ave, Apt 1603
Chicago, IL 60601




National Tank & Equipment
PO Box 4318 Dept #707
Houston, TX 77210-4318




Nest Construction Services, LLC
395 CR 668
Dayton, TX 77535




Network Cabling Services Inc
12626 Fuqua St
Houston, TX 77034




nFusion Capital Finance LLC
Attn: Jason Lippman, CEO
6444 Burnet Road, Suite 100
Austin, TX 78757



nFusion Capital Finance LLC
Attn: Anthony Fortunato, Director U/W
6444 Burnet St. #100
Austin, TX 78757



nFusion Capital Finance LLC
Attn: Anthony Fortunato
6444 Burnet Road, Suite 100
Austin, TX 78757
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Oates Industrial Inc
2900 E X Street
La Porte, TX 77571




Oiltanking




Omnipotech LTD
11422 A Cragalhead Dr
Houston, TX 77025




Oracle America Inc
PO Box 203448
Dallas, TX 75320-3448




OXEA Corporation
1505 West LBJ Fwy, Ste 400
Dallas, TX 75234




PAT Tank Inc
PO Box L
Groves, TX 77619-1259




Paul S Tomaso
4422 Northcrest Rd
Dallas, TX 75229




Performance Contracting Inc
P O Box 872346
Kansas City, MO 64187
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Petrofac Inc
16340 Park Ten Pl
Houston, TX 77084




Phillip Terry




Phillips 66 Universal
WEX BANK
P O Box 6293
Carol Stream, IL 60197



Polynt Composites USA Inc
Attn: Harold J Visser
2434 Holmes Rd
Houston, TX 77051



Power House Resources
260 Terrace View Way
Seneca, SC 29678




Primero Industrial Services LTD
12518 HWY 6
Santa Fe, TX 77510




Pro-Surve Technical Services LLC
1265 Bulter Road
League City, TX 77573




ProservCrane Group
PO Box 670965
Houston, TX 77017
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Randy S. Roden
PO Box 538
Liverpool, TX 77577




Reconn Industrial Services LLC
4811 Cripple Creek Dr
Houston, TX 77017-5935




Red-D-Arc
259 N. Radnor-Chester Road
Wayne, PA 19087




Rexel
P O Box 840638
Dallas, TX 75284-0638




Rilene Burgess
1415 Poplar Cove
La Porte, TX 77571




Robert S Davis
3102 Hanna Ln
Bentonville, AR 72712




RUS Industrial LLC
16030 Bear Bayou Dr
Channelview, TX 77530




Rust-Ewing Watt and Haney Inc
dba Texas First Insurance
7900 Emmett Lowry Expressway
Texas City, TX 77591
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S&B Constructors (EPC)




Santex Building Company
130 San Augustine Ave
Deer Park, TX 77536




Sentinel Integrity Solutions
6606 Miller Road 2
Houston, TX 77049




Shelter Roofing LP
PO Box 591653
Houston, TX 77259




Shintech Inc
Three Greenway Plaza, Ste 1150
Houston, TX 77046




Shop Properties
Attn: Mark Robertson
1509 Post Office
Galveston, TX 77550



Shop Properties LLC
1509 Post Office St
Galveston, TX 77550-4832




SignQuick
1426 Atlantis Drive
Webster, TX 77598
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Simply Smart Holdings LLC
PO Box 99051
Houston, TX 77261




Sloan and Roberts PLLC
5151 Belt Line Road Suite 1050
Dallas, TX 75254




Sloan Rangers LLC
2810 Rosebud Drive
Pearland, TX 77584




Small Business Administration
4300 Amon Carter Blvd.
Fort Worth, TX 76155




Smart Materials
1404 Wllisvillle Rd
Liberty, TX 77575




Spartan Specialty Companies LLC
415 W Barbours Cut Blvd
La Porte, TX 77571




Stepan Company
Attn: Ryan Horn
22 W Frontage Rd
Winnetka, IL 60093



Stephenson Fournier
3355 West Alabama Suite 640
Houston, TX 77098
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Summit Fire & Security
PO Box 6783
Carol Stream, IL 60197-6783




Tap Truck Houston LLC
1225 North Loop W Ste 640
Houston, TX 77008




Targa Resources LLC
1000 Louisiana, Ste 4300
Houston, TX 77002




TEAM Industrial Services Inc
13131 Dairy Ashford Suite 600
Sugar Land, TX 77478




Tennessee State Revenue /TN TAP
500 Deaderick Street
Nashville, TN 37242




Terminix Commercial
P O Box 802155
Chicago, IL 60680




Terry D McBurney III
4811 Cripple Creek
Houston, TX 77017




Terry McBurney
4811 Cripple Creek
Houston, TX 77017
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Terry McBurney III




Texas Comptroller
6320 Southwest Blvd, Ste 201
Fort Worth, TX 76109




Texas First Insurance
7900 Emmett F. Lowry Expy
Texas City, TX 77591




Texas Outhouse
950 McCarty Street
Houston, TX 77029




Texas State Comptroller
P O Box 149348
Austin, TX 78714-9348




Tier 1 Integrity, LLC
PO Box 4590
Pasadena, TX 77502-0590




Timothy Sharbine




Tool Mart Inc
13721 S. Gessner, Suite 200
Missouri City, TX 77489
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Total Petrochemicals & Refining USA Inc
1201 Louisiana St, Ste 1800
Houston, TX 77002




Total Safety
11111 Hwy 225
La Porte, TX 77571




TPC Group LLC
500 Dallas, Ste 1000
Houston, TX 77002




Unique Admin Services Organization LLC
4646 Corona Ste 105
Corpus Christi, TX 78411




Unique Staff Leasing III Ltd
dba UniqueHR
4646 Corona, Ste 100
Corpus Christi, TX 78411



Unique Staff Leasing III, Ltd
dba UniqueHR
4646 Corona, Ste 100
Corpus Christi, TX 78411



United Rentals
PO Box 840514
Dallas, TX 75284-0514




United Sourcing and Logistics LLC
P O Box 5631
Pasadena, TX 77508
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Universal Rectifiers Inc
P O Box 1640
Rosenberg, TX 77471




Uribe Steel
7213 Miller Rd 2
Houston, TX 77049




Valero Companies
PO Box 691787
San Antonio, TX 78269-1787




Valero Energy Corporation
Att: Mark Till
1 Valero Way
San Antonio, TX 78249



Vallen Electrical




Veolia North America
Attn: General Counsel
53 State St, 14th Floor
Boston, MA 02109



Veriforce
300 Hioliday Square Blvd. Ste. 100
Covington, LA 70433




Veronica Verastegui
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Wadler Perches




Waste Management
P.O. Box 660345
Dallas, TX 75266




Watch Enterprises LLC
2185 N.E. Spalding Ave #10
Grants Pass, OR 97526




Welder Testing Inc
502 West 13th Street
Deer Park, TX 77536




WEX Bank
PO Box 6293
Carol Stream, IL 60197-6293




Whirlwind Steel Buildings Inc
PO Box 75280
Houston, TX 77234-5280




Wholesale Electric Supply Co of Houston
P O Box 732778
Dallas, TX 75373-2778




William H Douning
12026 Lueders Ln
Dallas, TX 75230
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William Scotsman Inc
PO Box 91975
Chicago, IL 60693-1975




Willscot Mobile Mini
4646 E Van Buren St., Ste 400
Phoenix, AZ 85008




WPC Coit / SV LP
8525 Ferndale Rd., Ste 204
Dallas, TX 75238




Wright National Flood Insurance Company
PO Box 33003
Saint Petersburg, FL 33733-8003




Wrinkle, Garner & Company
3231 FM 528
Friendswood, TX 77546
